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      3Jn tbe Wniteb ~tates <!Court of jfeberal <!Claims
                                   No. 14-949C
                               (Filed May 29, 2015)
                             NOT FOR PUBLICATION

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                        *                                                 MAY 2 9 2015
DENNIS SHIPMAN,         *                                                U.S. COURT OF
                        *                                               FEDERAL CLAIMS
             Plaintiff, *
         v.             *
                        *
THE UNITED STATES,      *
                        *
             Defendant. *
                        *
************************
                                      ORDER

       Pending before the Court is defendant's motion to dismiss this case for lack of
subject-matter jurisdiction, brought under Rule 12(b)(l) of the Rules of the United
States Court of Federal Claims (RCFC). Because plaintiff did not receive the
motion when originally filed due to a clerical error, the Court extended the time for
plaintiffs response. See Order (Jan. 23, 2015). After this deadline had passed, the
Court gave plaintiff a second chance to respond, cautioning him that failure to
oppose the motion would result in dismissal for failure to prosecute. Order (Mar. 9,
2015). Since this second order failed to elicit a response, dismissal under RCFC
41(b) would be warranted. But taking into consideration plaintiffs prose status,
the Court has taken the additional step of reviewing his complaint and the
government's motion to confirm whether jurisdiction over the subject matter is
lacking, and has found this to be the case .

       Plaintiff Dennis Shipman was a first responder at the site of the terrorist
attacks on the World Trade Center (WTC) the morning of September 11, 2001. He
alleges that he "suffered a 'silent' heart attack in January 2014 as a direct
consequence" of the poor health care he received from Logistics Health, Inc. (LHI), a
contractor for the World Trade Center Health Program (WTCHP). Compl. at 3. The
gravamen of his complaint is that LHI wrongly denied his claim for a compensable
physical injury and misinformed him that no appeal of the determination was
possible. Compl. at 3-4. He also disputes the qualifications, treatment, and
diagnoses of LHI's physicians, and contends that an employee of the federal
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agencies which administer the WTCHP spread false information about him ---
resulting in his claim being rejected by the 9/11 Victim Compensation Fund.
Compl. at 4-6. Two distinct causes of action are raised by Mr. Shipman: a due
process violation for which he seeks $500,000 in compensatory damages; and the
intentional infliction of emotional distress, for which he requests punitive damages
of $1.5 million. Id. at 7.

       Unfortunately for Mr. Shipman, the government is correct that his complaint
does not concern matters within our jurisdiction under the Tucker Act, 28 U.S.C.
§ 1491. While a prose plaintiffs filings are to be liberally construed, see Erickson v.
Pardus, 551 U.S. 89, 94 (2007), this lenient standard cannot save claims which are
outside this court's jurisdiction from being dismissed. See, e.g., Henke v. United
States, 60 F.3d 795, 799 (Fed. Cir. 1995). We do not have jurisdiction over claims
between private parties, see Ambase Corp. v. United States, 61 Fed. Cl. 794, 796
(2004), which precludes us from entertaining the allegations against LHI. The
plaintiffs claim that he was denied due process (or equal protection) is also barred
because the constitutional provision guaranteeing due process is not money
mandating. LeBlanc v. United States, 50 F.3d 1025, 1028 (Fed. Cir. 1995). 1 The
Tucker Act expressly limits our jurisdiction to "cases not sounding in tort," 28
U.S.C. § 1491(a)(l), and thus the intentional infliction of emotional distress claim is
barred. See McKenzie v. United States, 524 F. App'x 636, 638 (Fed. Cir. 2013) (per
curiam). Moreover, it is well established that this Court lacks authority to grant
punitive damages. See, e.g. , Garner v. United States, 230 Ct. Cl. 941, 943 (1982);
Vincin v. United States, 199 Ct. Cl. 762, 765 (1972). Finally, plaintiff fails to
identify any money-mandating provisions of law that would support our jurisdiction
over the matters in his complaint.2

       For the foregoing reasons, the Court GRANTS defendant's motion to dismiss
this case for lack of subject-matter jurisdiction pursuant to RCFC 12(b)(l). The
Clerk shall close the case.

IT IS SO ORDERED.


                                        v~
                                        Judge

1 Only in the limited circumstance of an alleged illegal exaction may a due process
violation come within the jurisdiction of this court. See Aerolineas Argentinas v.
United States, 77 F.3d 1564, 1572-73 (Fed. Cir. 1996).

2 The statutes he mentions in passing are 42 U.S.C. § 1983, which does not even
apply to federal government officials; the Americans with Disabilities Act, 42 U.S.C.
§ 12101 et seq.; and the Administrative Procedure Act, 5 U.S.C. § 500 et seq.
Compl. at 5.
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